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07                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
08                                     AT SEATTLE

09 UNITED STATES OF AMERICA,              )            CASE NO.: CR05-0231-JCC
                                          )
10         Plaintiff,                     )
                                          )
11         v.                             )            DETENTION ORDER
                                          )
12   DALE ROBERT GRANMO,                  )
                                          )
13         Defendant.                     )
     ____________________________________ )
14

15 Offense charged:

16          Violent Crime in Aid of Racketeering: Kidnaping

17 Date of Detention Hearing:     July 1, 2005

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

20 that no condition or combination of conditions which defendant can meet will reasonably assure

21 the appearance of defendant as required and the safety of other persons and the community.

22         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

23          (1)    Defendant is named in one count of a twenty count indictment that has been

24 brought against certain individuals, some of whom are alleged to be leaders and/or members of

25 the Bandidos Outlaw Motorcycle Organization. He was arrested in the District of Montana and

26 appeared before U.S. Magistrate Judge Holter, where an appearance bond was issued and he was

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 released to appear before this court.

02          (2)     The Indictment alleges that the Bandidos Outlaw Motorcycle Organization is a

03 criminal organization whose members and associates engaged in acts of violence, including

04 kidnaping, assault, threats of violence, and extortion in the United States and throughout the

05 world. The Bandidos is alleged to constitute a criminal enterprise as defined in Title 18, USC,

06 Section 1959(b)(2), that is, an enterprise constituting an ongoing organization whose members

07 function as a continuing unit for common purpose of achieving racketeering activity. Mr. Granmo

08 is alleged to be a member of the Missoula Chapter of the Bandidos organization, and further

09 alleged to be a close associate of the president of that chapter, also a co-defendant, acting under

10 his direction and order. Mr. Granmo is alleged to be responsible for carrying out disciplinary and

11 enforcement directives made by the co-defendant against rival motorcycle club members in

12 Montana.

13          (3)     The charges against defendant arise out of an alleged kidnaping incident relating

14 to another individual. Defendant is alleged to have forcibly removed the individual at gunpoint

15 in the course of the kidnaping.

16          (4)     Defendant was interviewed by Pretrial Services in Montana, and is said to have

17 claimed to be clean and sober for 15 years, although testing positive for methamphetamine on June

18 17, 2005. A subsequent urine test was negative. Pretrial Services recommended that the

19 defendant be detained.

20          (5)     There is an active extraditable warrant from the State of Arizona. The defendant

21 was convicted in Great Falls, Montana for the charges of assault with a weapon, kidnaping,

22 carrying a concealed weapon (relating to the incident described in the Indictment in this case), and

23 has another CCW conviction and a domestic abuse conviction.

24          (6)     Although a transcript of the detention hearing in Montana was not available, it

25 appears that the information described in the preceding paragraphs was available to Judge Holter.

26 Additional information made available to this Court by way of proffer from the AUSA is that

     DETENTION ORDER                                                                           15.13
     18 U.S.C. § 3142(i)                                                                    Rev. 1/91
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01 defendant is alleged to be a long time drug user and trafficker. He is further alleged to have

02 bragged about beating up a former chapter President, hitting him on the head with an ax, and

03 blowtorching a tattoo off the individual’s body. The defendant adamantly denies these allegations.

04          (7)     Defendant poses a risk of nonappearance due to alleged controlled substance use.

05 He poses a risk of danger due to criminal history, controlled substance use, the nature of the

06 charge, and other alleged violent behavior, particularly in light of the nature of the instant charges.

07          (8)     There does not appear to be any condition or combination of conditions that will

08 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

09 to other persons or the community.

10 It is therefore ORDERED:

11          (1)     Defendant shall be detained pending trial and committed to the custody of the

12                  Attorney General for confinement in a correction facility separate, to the extent

13                  practicable, from persons awaiting or serving sentences or being held in custody

14                  pending appeal;

15          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

16                  counsel;

17          (3)     On order of a court of the United States or on request of an attorney for the

18                  Government, the person in charge of the corrections facility in which defendant is

19                  confined shall deliver the defendant to a United States Marshal for the purpose of

20                  an appearance in connection with a court proceeding; and

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     DETENTION ORDER                                                                              15.13
     18 U.S.C. § 3142(i)                                                                       Rev. 1/91
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01         (4)    The clerk shall direct copies of this Order to counsel for the United States, to

02                counsel for the defendant, to the United States Marshal, and to the United States

03                Pretrial Services Officer.

04         DATED this 1st day of July, 2005.



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                                                Mary Alice Theiler
07                                              United States Magistrate Judge

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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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